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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:03-cr-00041-MP-AK

LINSOME A. BOYD,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 673, Motion for Extension of Time to File

Objections to Report and Recommendation, filed by Defendant Linsome Boyd. In his motion,

Defendant states that the Magistrate’s Report was initially mailed to the wrong address, and that

it was only recently forwarded to him. Because of this delay, Defendant requests a thirty-day

extension of the deadline in which to file his objections. This request is granted, and Defendant

Boyd shall file his objections to the Magistrate’s Report on or before May 12, 2008.


       DONE AND ORDERED this             9th day of April, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
